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                                             State of New Jersey
PHILIP D. MURPHY                            OFFICE OF THE ATTORNEY GENERAL                                        CxURBIR S. GREWAL
     Governor                            DEPARTMENT OF LAW AND PUBLIC SAFETY                                        Atto~~ney General
                                                      DIVISION OF LAW
SHEILA Y. OLIVER                                      25 MARKET STREET                                            MICHELLE L. MILLER
   Lt. Gouerr~or                                          PO Box 114                                                    Director
                                                  TRENTON, NJ 08625-0114




                                               January 30, 2019




       Via Electronic Filing
       Honorable Esther Salas, U.S.D.J.
       Martin Luther Bldg. & U.S. Courthouse
       50 Walnut Street
       Newark, NJ 07101

                   Re:     Jacqueline Rosa v. Borough of Leonia, et al.
                           Civil Action No. 2:18-cv-15534

                           Motion to Remand Filed By the State of New Jersey
                           Department of Transportation
                           Motion Return Date: January 7, 2019

       Dear Judge Salas:

                 We represent the State of New Jersey Department of
       Transportation ("NJDOT") in this case. With regard to the NJDOT's
       pending motion to remand to state court, this is to respectfully
       advise Your Honor that the Borough of Leonia ("Leonia") has filed
       a notice of appeal with the Superior Court of New Jersey, Appellate
       Division, of the NJDOT's final agency decision of December 4, 2018
       (NJDOT Ex. AAA) concerning the NJDOT's review of Leonia's Ordinance
       Nos. 2018-14, 2018-15 and 2018-17 (NJDOT Ex. CC, DD and UU).

                   Thank you.




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                                                           January 30, 2019
                                                                     Page 2




                               Respectfully yours,

                               GURBIR S. GREWAL
                               ATTORNEY GENERAL OF NEW JERSEY



                          By: s/ Philip J. Espinosa
                               Philip J. Espinosa
                               Deputy Attorney General

 CC:   All Counsel of Record (via electronic filing)
